
277 A.2d 312 (1971)
Petition of James F. VETELINO.
No. 1362-M. P.
Supreme Court of Rhode Island.
May 25, 1971.
Frank S. Cappuccio, Westerly, for petitioner.
James H. Barnett, Providence, representing interest of the public.

ORDER
This is a petition to review a ruling of the Board of Bar Examiners which refused to waive Rule 1(d) of the rules governing admission of persons to the practice of law so as to permit the petitioner to take an examination for admission to the bar. Rule 1(d) in pertinent part provides that only a person who has graduated from a law school approved and accredited by the American Bar Association may sit for the bar examination. Although the law school from which petitioner graduated in June of 1966, had by then applied to the American Bar Association for provisional approval, that status was not achieved until February of 1969. The circumstances of this case do not warrant our finding that the Board of Bar Examiners in refusing to waive the application of Rule 1(d) either abused its discretion or was otherwise clearly wrong.
The petition for review is denied and dismissed.
